                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


HOME POINT FINANCIAL
CORPORATION,

       Plaintiff,
v.
                                           Case No. 6:20-cv-01819-CEM-EJK
DONALD MARK LANE, CANDACE
ROBERTSON, CHRISTOPHER
WILKINS, and GUARANTY HOME
MORTGAGE CORPORATION,

       Defendants.


          DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S
        SUPPLEMENTAL EXPERT REPORT AND SUPPORTING
                  MEMORANDUM OF LAW

      Plaintiff served a timely damages expert disclosure and subsequently served

rebuttal opinions from the same expert. However, two days after Defendants

deposed the expert and confronted him with several flaws in his methodologies

and opinions presented, Plaintiff served a “Supplemental Report” in an effort to

rehabilitate its expert. This Supplemental Report was served at 11:57 p.m. on the

day of the discovery cutoff. The Supplemental Report is untimely, an improper

supplement, and should be stricken by the Court.




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                                         BACKGROUND

       Plaintiff brings this claim asserting that Defendants Lane and Robertson

breached non-solicitation agreements by organizing a mass exodus of Plaintiff’s

mortgage underwriters in September of 2020, and that Guaranty Home Mortgage

Corporation (“GHMC”) conspired with Lane and Robertson and tortiously

interfered with Plaintiff’s non-solicitation agreements. On September 14, 2022, the

Court entered the Third Amended Case Management and Scheduling Order

(“CMO”) (Dkt. 136) which set forth various deadlines in the case. Specifically, the

CMO provided that Plaintiff’s expert report disclosure would be March 31, 2023;

Rebuttal expert report disclosure would be May 15, 2023; and discovery cut off

would be June 15, 2023.

       On March 30, 2023, the parties filed a Joint Unopposed Motion to Extend

Expert and Discovery Deadlines by Approximately Thirty Days (Dkt. 155) seeking

to extend the deadlines for Plaintiff’s expert report disclosure (until April 28,

2023), Defendants’ expert report disclosure (until June 1, 2023); Rebuttal expert

report disclosure (until June 15, 2023), and discovery completion (until July 15,

2023). The Court promptly denied this joint motion, adding that “[d]ue to the

Court’s busy docket, the District Judge cannot accommodate further extensions in

this case absent extraordinary circumstances . . . .” (Dkt. 156).

       With the request for extension denied, Plaintiff served the Expert Report of

Robert W. Crandall, MBA (“Initial Report”) on March 31, 2023.1 Mr. Crandall


1 A redacted copy of the Initial Report is attached as Exhibit 1.


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listed as a category of damages the disgorgement of certain profits of Defendant

GHMC but did not include any value for these damages, instead “reserving the

right” to supplement his report to reflect information learned from any subsequent

production.

       On May 15, 2023, after Defendants served their own expert report on

damages, Plaintiff served the Rebuttal Expert Report of Robert W. Crandall, MBA

(“Rebuttal Report”).2 While the Rebuttal Report purportedly addressed the

opinions of Defendants’ expert, it also added to the Initial Report by opining that

the previously unvalued disgorgement of profits damages were over $3.1 million.

Mr. Crandall stated in his Rebuttal Report that he may supplement the report, “[i]f

more information is produced by GHMC regarding loans closed by these same

employees after December 2020 . . . .” Mr. Crandall did not otherwise state that his

analysis required more information.

       Defendants took Mr. Crandall’s deposition on June 13, 2023. Given the

nature of Mr. Crandall’s opinions and amount of damages alleged, Defendants

incurred great expense to travel to California where Mr. Crandall resides to depose

him. When asked whether he had any additional updates or changes to his

opinion, Mr. Crandall responded that he did not have any at that time but reserved

the right to supplement his opinion or further reply to Defendants’ expert.

       Two days after Mr. Crandall’s deposition, and at 11:57 p.m. on June 15, 2023

(the discovery cutoff date), Plaintiff served the Supplemental Expert Report of


2 A redacted copy of the Rebuttal Report is attached as Exhibit 2.


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Robert W. Crandall, MBA (“Supplemental Report”).3 In the first paragraph, Mr.

Crandall claims he was presented documents at his deposition, and after

considering those documents he updated his analysis. (Ex. 3 at 2). He then added

that the Supplemental Report “does not claim new opinions.” (Ex. 3 at 2). Despite

this conclusory statement, the Supplemental Report was in fact rife with new

opinions.

       For example, Mr. Crandall, Home Point’s damages expert, increased his

opinion of the amount of damages in this matter from $6.9 million to $8.3 million.

Mr. Crandall’s Initial Report based its calculations on several categories of

damages, including outside recruiter costs, signing bonus costs, and training time

costs, on certain employees that Home Point claims it hired to replace the

employees who had resigned; yet only two of the twelve employees listed in his

Initial Report appear in his Supplemental Report. (Ex. 1 at 22; Ex. 3 at 12). The

Supplemental Report also seeks disgorgement damages against Defendant GHMC

for an additional eight-month period and used a completely different calculus to

approximate GHMC’s alleged profits. In fact, Mr. Crandall’s Supplemental Report

changed the values for seven out of the eight categories of damages upon which he

opined.

       Plaintiff also produced approximately 79 pages of documents at 11:32 p.m.

on the same night as the Supplemental Report. The Supplemental Report cites to

several of these “newly” produced documents in footnote 26. (Ex. 3 at 12).


3 A redacted copy of the Supplemental Report is attached as Exhibit 3.


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However, many of these documents had been previously produced and cited in Mr.

Crandall’s Initial Report. For example, HPLANE00004502 is reproduced at

HPLANE00005518; HPLANE00004505 is reproduced at HPLANE00005519;

and HPLANE00004515 is reproduced at HPLANE00005520.4 This can best be

summarized using Table S2 of the Supplemental Report, which lists the

“Recruiting Invoice Amount” for eight employees. For each of these employees, the

recruiting invoice to which Mr. Crandall cites had actually previously been

produced under an earlier Bates number.5 Thus, any suggestion that the changes

were based on “new” information is improper because this information was already

reviewed by Mr. Crandall prior to the Initial Report. (Ex. 1 at Attachment B, p. 2).

       Likewise, the Supplemental Report relies on documents produced at GHMC

003257 and 003264 in the revised calculation of the purported disgorgement of

profits section of Mr. Crandall’s opinion. (Ex. 3 at 17). These documents were relied

upon by Mr. Crandall in preparing his Rebuttal Opinion and expressly cited in

footnote 40 on page 19 therein. (Ex. 2 at 19).

       In fact, the only “new” document relied upon by Mr. Crandall that was not

previously available to him was GHMC 003297, a single page spreadsheet

describing the total number of loans funded per month and core earnings of GHMC


4 The documents, which are invoices from various recruiting firms, have been marked as
“Confidential” under the Parties’ Confidentiality Agreement, and Defendants do not attach them
as exhibits to this Motion. However, those invoices can be provided to the Court under seal for
review upon request or at a hearing on this Motion.

5 Footnote 27 of the Supplemental Report cites to four additional employees as having recruiting

invoices, but each of these additional four employee had their recruiting invoice also produced in
an earlier production.
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per month during calendar year 2020. Using this document, the Supplemental

Report now purports to extrapolate the percentage of loans funded in 2020 by the

employees who resigned from Home Point and create estimates for the loans

worked on by those employees from January through August 2021, as well as the

total profits per loan funded during that time period. Aside from the fact that Mr.

Crandall’s methodology is flawed and purely speculative (e.g., he improperly uses

2020 data to frame a new opinion about profits in 2021), this new opinion raised

the category of damages by $1.7 million. Notably, this “new” document was

produced on May 24, 2023, several weeks before Mr. Crandall’s deposition.

Plaintiff made no effort to “supplement” Mr. Crandall’s opinion before his

deposition, which Plaintiff could have easily done.

                             MEMORANDUM OF LAW

      Complying with Rule 26 is “‘not merely an aspiration’ as ‘the expert witness

discovery rules are designed to allow both sides in a case to prepare their cases

adequately and to prevent surprise.’” Reese v. Herbert, 527 F.3d 1253, 1266 (11th

Cir. 2008). The expert disclosure requirement is met when an expert disclosure “is

sufficiently complete, detailed, and in compliance with the Rules so that

surprise is eliminated, unnecessary depositions are avoided, and costs

are reduced.” Columna, Inc. v. United Healthcare Ins. Co., 2020 WL 624120, at

*1 (S.D. Fla. Feb. 11, 2020) (emphasis added).

       “Exclusion is also appropriate pursuant to Rule 16(b), which ‘authorizes the

district court to control and expedite pretrial discovery through a scheduling order’

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and which gives the court ‘broad discretion to preserve the integrity and purpose

of the pretrial order,’ including the exclusion of evidence as a means of enforcing

the pretrial order.” St. Louis Condo. Ass'n, Inc. v. Rockhill Ins. Co., 2019 WL

2013007, at *6 (S.D. Fla. Mar. 11, 2019); Bearint ex rel. Bearint v. Dorell Juvenile

Grp., Inc., 389 F.3d 1339, 1348–49 (11th Cir. 2004) (affirming the exclusion of an

untimely expert report). Courts have broad discretion to exclude untimely expert

testimony—even when it is designated as a “supplemental” report. See Corwin v.

Walt Disney Co., 475 F.3d 1239, 1252 (11th Cir. 2007) (“[A] supplemental expert

report may be excluded pursuant to Federal Rule of Civil Procedure 37(c) if a party

fails to file it prior to the deadline imposed.”).

   I.     Although labeled “supplemental,” this is a new opinion.

        “‘Disclosure of expert testimony’ within the meaning of the federal rule

contemplates not only the identification of the expert, but also the provision of a

written expert report containing ‘a complete statement of all opinions’ and ‘the

basis and reasons therefore.’” Reese v. Herbert, 527 F.3d at 1265 (emphasis

added). Parties are obligated under Federal Rule of Civil Procedure 26(e) to

supplement an expert report “in a timely manner if the party learns that in some

material respect the disclosure . . . is incomplete or incorrect.” A “supplement” is

not a tool to set forth an entirely new opinion, as Plaintiff has done here. See

Brincku v. Nat’l Gypsum Co., 2012 WL 1712620, at *2 (M.D. Fla. May 15, 2012) (“A

revised report which includes a new theory or opinion is not proper

supplementation under Rule 26(e).”)

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      In addition to changing Tables 2, 3, and 4 in his Supplemental Report based

on information Mr. Crandall could and should have considered in his Initial Report

(e.g., raising his opinion from $6.9 to $8.3, using different employees, and

changing values of seven out of eight categories of damages upon which he opined),

Mr. Crandall adds nearly $2 million to his opinion for disgorgement of GHMC’s

alleged profits based on an estimated amount of loans funded. While the

Supplemental Report purports to use the “same methodology” as the Rebuttal

Report, in reality, it is an entirely new opinion. The Rebuttal Report does not even

reference damages relating to loans funded; rather, it states that he only needed to

know “overall profit, expenses, and the number of loans closed for a period of

time.” (Ex. 2 at 17). At no point in the Rebuttal Report does Mr. Crandall calculate

for loans funded (as opposed to loans underwritten) in his opinion—even though

the Rebuttal Report refers to the loans funded by Plaintiff during 2020 (Ex. 2 at 17

(Table R3)). His new theory provides that he needs to reduce that number by a

percentage to address the total loans funded over a period—a point that is never

addressed in his rebuttal.

      The Rebuttal Report further provides that, if information relating to the

loans worked on by these specific employees after December 2020 is produced,

Mr. Crandall would update his analysis. (Ex. 2 at 19). However, there was no

subsequent production relating to data after December 2020 in this lawsuit.

Instead, the Supplemental Report relies on industry data that was available at the

time of his prior reports to “estimate” the number of units funded from January

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2021 through August 2021. (Ex. 3 at 18). This is a material change in his opinion—

made two days after his deposition—with information that was previously available

but simply not considered by Mr. Crandall.

         Because the new opinions are untimely, submitted 76 days after the Initial

Report deadline, 31 days after the Rebuttal deadline, and three minutes before the

close of discovery, the Supplemental Report should be stricken.

   II.      Even if the Court does not consider the Report to be a new
            opinion, it is still an improper attempt to supplement in an
            effort rehabilitate Mr. Crandall’s flawed opinions and
            methods.

         Parties are obligated under Federal Rule of Civil Procedure 26(e) to

supplement an expert report “in a timely manner if the party learns that in some

material respect the disclosure . . . is incomplete or incorrect, and if the additional

or corrective information has not otherwise been made known to the other parties

during the discovery process or in writing.” Aileron Inv. Mgmt., LLC v. Am.

Lending Ctr., LLC, 2022 WL 523549, at *1 (M.D. Fla. Feb. 22, 2022); see also

Guevara v. NCL (Bahamas) Ltd., 920 F.3d 710, 718 (11th Cir. 2019). However,

Rule 26(e) “permits supplemental reports only for the narrow purpose of

correcting inaccuracies or adding information that was not available at

the time of the initial report.” Aileron, 2022 WL 523549, at *1 (citing

Companhia Energetica Potiguar v. Caterpillar Inc., 2016 WL 3102225, at *6 (S.D.

Fla. June 2, 2016))(emphasis added). An expert report thus “may not be

supplemented in order to cure a major omission or to remedy an expert's


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inadequate or incomplete preparation.” Id. (citing Lincoln Rock, LLC v.

City of Tampa, 2016 WL 6138653, at *2 (M.D. Fla. Oct. 21, 2016))(emphasis

added). Succinctly, “a party cannot abuse Rule 26(e) to merely bolster a defective

or problematic expert witness report.” Guevara, 920 F.3d at 719.

      Mr. Crandall admits in his Supplemental Report that he was making changes

to his opinion as a result of being confronted with conflicting documents at his

deposition. (Ex. 3 at 2). He explains that, due to these documents, he prepared

new Tables 2, 3, and 4 in his Supplemental Report.          However, none of the

documents presented to Mr. Crandall at his deposition were documents that had

not previously been considered by Mr. Crandall in preparing his earlier reports. He

merely failed to consider the data and information that he was presented and he

prepared an admittedly flawed opinion.

      For example, while footnote 26 in the Supplemental Report cites to “new”

production, this “new” production was duplicative of documents previously

produced in this matter—and upon which Mr. Crandall included as documents he

previously considered. When reviewing Table S2 in the Supplemental Report

relating to purported recruiting costs incurred by Plaintiff, Mr. Crandall identifies

12 Home Point employees who were not previously disclosed on prior reports from

Mr. Crandall. Mr. Crandall then attributes a recruiting invoice amount as damages

for six of these “new” employees. These “new” employees account for 75 percent

of the amount of damages for this category of damages, and Mr. Crandall cites to

recruiting invoices from these employees as the basis for his calculations.

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However, the recruiting invoices for each one of these six “new” employees were

previously produced by Plaintiff and were even listed in the documents considered

by Mr. Crandall in his prior report. (See Ex. 1 at Attachment B, p. 2.)

      It was merely Mr. Crandall’s oversight and error that caused his prior reports

to identify other harm that purportedly resulted from Defendants’ actions. That is

not a proper basis for a supplemental opinion under Rule 26. See Guevara, 920

F.3d at 719.

      Finally, even if the single-page table produced at GHMC 003297—the lone

document produced after the Rebuttal Report—was somehow instrumental to Mr.

Crandall’s opinion, that document was produced on May 24, 2023, nearly three

weeks prior to his deposition. Yet Plaintiffs waited until after Mr. Crandall was

deposed and until 11:57 p.m. on the last day of discovery to serve the Supplemental

Report. There can be no basis for delaying the Supplemental Report until after the

deposition, other than Mr. Crandall being confronted with his flawed analysis at

his deposition. In short, Mr. Crandall is attempting a second bite at the apple after

being educated by Defendants.

   III.   The late disclosure was not harmless or justified.

      Rule 37(c)(1) provides a self-executing sanction for untimely disclosures;

when “a party fails to provide information . . . as required by [Federal Rule] 26(a)

or (e), the party is not allowed to use that information or witness to supply evidence

on a motion, at a hearing, or at a trial, unless the failure was substantially justified

or is harmless.” Edmondson v. Caliente Resorts, LLC, 2017 WL 10591833, at *13

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(M.D. Fla. Aug. 31, 2017). Substantial justification requires justification to a degree

that would satisfy a reasonable person that the parties could differ as to whether

the party was required to comply with the disclosure request. See Access Now Inc.

v. Macy’s E., Inc., 2001 WL 36380366, at *3 (S.D. Fla. Oct. 22, 2001). Courts have

found harm is caused when a filing hinders the opposing party’s ability to depose

an expert, as is the case here. See Guevara, 920 F.3d at 719 (stating the failure was

not harmless because the late filing foreclosed the defendants’ opportunity to

depose [the expert]); Gargano v. Philip Morris USA, Inc., 2011 WL 13100471, at

*2 (S.D. Fla. Aug. 1, 2011) (finding that a plaintiff’s failure to serve expert reports

is not harmless because a party may only take an expert’s deposition after they have

received a report).

      Here, the late disclosure was in no way substantially justified or harmless.

Mr. Crandall adds nearly $2 million to his value of the alleged disgorgement of

profits damages, at best based on a single page document he received several weeks

before his deposition. Yet, he waited until after his deposition and with only three

minutes remaining in the discovery period to produce his Supplemental Report.

By delaying until the last remaining moments of discovery, Plaintiff foreclosed

Defendants’ ability to inquire into the Supplemental Report or confront Mr.

Crandall on his new opinions, theories and damages estimates. Notably, this was

after the Court had already informed the parties that no extensions would be given

absent extraordinary circumstances. (Dkt. 156). Plaintiff’s unjustified delay was

not due to any extraordinary circumstances. Even if Mr. Crandall were made

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available for a second deposition outside of the discovery period, this would only

come at a significant and unnecessary expense to the Defendants in additional

legal fees, reporter fees, transcript fees, travel costs, and expert fees—expenses that

Defendants should not be required to bear. As such, the Supplemental Report

served after the deposition of Mr. Crandall is extremely harmful to Defendants. See

Guevara, 920 F.3d at 719; Gargano, 2011 WL 13100471, at *2.

      The facts in this case are similar to the facts in Guevara, where the Eleventh

Circuit upheld the trial court’s decision to exclude portions of a first supplemental

report and a second supplemental report in its entirety. 920 F.3d at 718–19. In

Guevara, the plaintiff served the first supplemental report almost a month after

the rebuttal report disclosure deadline set by the court. Id. at 715. The first

supplemental report was served on the Friday before the expert’s Monday

deposition, and contained previously undisclosed opinions and references to

authoritative materials. Id. The plaintiff there asserted that the late report was

necessary because of the late disclosure of certain documents by the defendant. Id.

at 716. In that case, the trial court found that supplementing the report based on

new information was justified but the expert “did not, however, have ‘carte blanche

to supplement everything in both his initial and rebuttal expert reports.’” Id. The

court struck the portions of the first supplemental report that did not rely on new

information. Id. It also struck the entirety of the second supplemental report

because it was served five weeks after the new documents were received, it was



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after close of discovery, and it did not leave defendants an opportunity to depose

the expert about the report. Id.

      In Guevara, the Eleventh Circuit affirmed the trial court’s decision to strike

the reports. Id. at 719. It noted that the trial court did not abuse its discretion—that

serving the supplemental report on the eve of the deposition foreclosed defendant’s

ability to adequately depose the expert on the first supplemental report. Id. at 719.

In the case at bar, Plaintiff served the Supplemental Report after Mr. Crandall’s

deposition.

      Also important to note in Guevara, the Eleventh Circuit agreed that the first

supplemental report was served in response to the defendant’s report and was

merely an attempt to bolster the plaintiff’s expert’s prior defective or problematic

report. Id. This is directly on point with the present case, where the Supplemental

Report was served in an effort to “correct” Mr. Crandall’s prior reports.

      Finally, in Guevara the Eleventh Circuit agreed with the trial court’s

decision to strike the second supplemental report in its entirety because it was

served five weeks after the “new” information was received and a month after the

discovery deadline. Id. Here, Mr. Crandall waited three weeks after receiving the

“new” information before preparing the Supplemental Report, and the single-page

document produced after he prepared his Rebuttal Report was only relied upon in

the Supplemental Report for one section of damages. While it is true that the

plaintiff in Guevara waited a month after the discovery deadline to prepare the

second supplemental report, in this case, Plaintiff served the Supplemental Report

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three minutes before midnight on the date of the discovery cutoff—effectively

precluding any ability for Defendants to conduct discovery related to the

Supplemental Report. Consistent with the Eleventh Circuit’s guidance, the Court

should strike the Supplemental Report. Id.

      In contrast, the facts in this case are significantly distinguishable from the

facts in cases where the courts have found substantial justification or harmless

supplemental disclosures. For example, SFR Services LLC v. Electric Insurance

Company, 2021 WL 1193284 (M.D. Fla. Mar. 30, 2021) is easily distinguishable

because in that case the court analyzed an affidavit from an expert that was filed in

response to a Daubert motion in a hurricane roof damage case. The affidavit

primarily set forth the steps the disclosing expert took in performing his

inspection, the origin of the documents he relied on in his initial opinion, and the

specific building code he relied upon for his testing. Id. at *2. There, the court

considered five factors in determining whether the affidavit was harmless or

substantially justified. First, the court considered whether the affidavit was a

surprise to the party against whom the evidence was offered. It found that the

affidavit did not provide a critical link missing from the expert’s earlier

submissions and did not include any new theories, but instead included

information that one would expect the producing party to elicit at trial. Id. at *5.

Compare this to Mr. Crandall’s Supplemental Report that unexpectedly changes

the value of seven of his eight listed categories of damages.



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      The SFR Services court then looked at whether the surprise could be cured

by reopening discovery. Id. The court determined that the minimal surprise could

be easily cured by reopening discovery to allow the expert to be deposed. Id. Again,

this is in stark contrast to the present matter where the Court has already

determined that no extensions would be granted barring exceptional

circumstances. Furthermore, Defendants here incurred significant expense to

depose Mr. Crandall in California, just two days before the supplement was served.

To force Defendants to bear the costs of a second deposition merely because Mr.

Crandall failed to appropriately consider the facts in this lawsuit that were

previously available to him is no easy cure and is not justified. Moreover, the late

disclosure precludes Defendants’ own expert from responding to these new

opinions that should have been included in the Initial Report.

      The SFR Services court next considered the extent to which allowing the

evidence would disrupt the trial, the importance of the evidence, and the non-

disclosing party’s explanation for its failure to disclose the evidence. Id. It is true

that similar to SFR Services, the trial date in the case at bar is several months away

and Mr. Crandall is Plaintiff’s only witness. However, the SFR Services court noted

in its opinion that an expert does not have to stand mute in response to a Daubert

motion. Id. at *6. Again, that is not the case in this matter, as Mr. Crandall did not

supplement his opinion in response to a Daubert motion or to add clarity to his

opinion. He changed his opinion as to seven of the eight categories of damages



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after re-considering information he had already reviewed, and added $1.7 million

to his overall damages estimate.

      It is clear that the Supplemental Report is not the type of supplement that is

permissible under the Rules and it is easily distinguishable from cases where the

courts have permitted a supplement under Rule 26(e). It is not harmless or

justified. Rather, it is exactly the type of supplement that is an improper effort to

cure a major omission or to remedy an expert's inadequate or incomplete

preparation. Guevara, 920 F.3d at 719.

      Finally, this Motion to Strike is necessary because the Daubert deadline is

September 1, 2023 and defendants need to know which expert report(s) their

Daubert motion should attack—only the Initial and Rebuttal Reports or to include

this Supplemental Report.

      WHEREFORE,         Defendant    Guaranty    Home     Mortgage     Corporation

respectfully requests this Court strike Plaintiff’s Supplemental Expert Report and

award any such further relief as this Court deems just and proper.

                      LOCAL RULE 3.01(g) CERTIFICATION

      The undersigned have conferred with Plaintiff’s counsel in good faith

regarding the relief requested in this motion and Plaintiff’s counsel opposes the

requested relief.


                                       /s/ Matthew F. Hall
                                       S. Gordon Hill (FBN 0094374)
                                       Gordon.Hill@hwhlaw.com
                                       Matthew F. Hall (FBN 092430)

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             Matthew.Hall@hwhlaw.com
             Debra.Whitworth@hwhlaw.com
             Hill Ward & Henderson, P.A.
             101 E. Kennedy Blvd., Suite 3700
             Tampa, FL 3361-2231
             813.221.3900 – Telephone
             813.221.2900 – Facsimile
             Counsel for Defendants Donald Mark
             Lane, Candace Robertson, Christopher
             Wilkins, and Guaranty Home Mortgage
             Corporation




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